                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                              :
 DANIEL N. DICKENSHEETS,             : CASE NO.1-19-00983-HWV
 aka DAN N. DICKENSHEETS             :
 SHELLY MAE DICKENSHEETS,            : CHAPTER 13
 fka SHELLY M. GROFT, fka SHELLY     :
 KEENEY, aka SHELLY M. DICKENSHEETS, :
 fka SHELLY MAE GROFT                :
                  Debtors            :
                                     :
 WELLS FARGO BANK, N.A.              :
 d/b/a WELLS FARGO AUTO              :
                 Movant              :
                                     :
        v.                           :
                                     :
 DANIEL N. DICKENSHEETS,             :
 aka DAN N. DICKENSHEETS             :
 SHELLY MAE DICKENSHEETS,            :
 fka SHELLY M. GROFT, fka SHELLY     :
 KEENEY, aka SHELLY M. DICKENSHEETS, :
 fka SHELLY MAE GROFT                :
                 Respondents         :


                 DEBTORS’ OBJECTION TO CERTIFICATE OF DEFAULT
             FILED BY WELLS FARGO BANK, N.A., d/b/a WELLS FARGO AUTO

        AND NOW, come Debtors, Daniel N. Dickensheets and Shelly Mae Dickensheets, by and

 through their attorney, Gary J. Imblum, and respectfully respond as follows:

        1.      Debtor filed a Chapter 13 Bankruptcy to the above term and number on or about

 March 12, 2019.

        2.      A Motion for Relief from the Automatic Stay by Wells Fargo Bank on or about March

 23, 2020.

        3.      On June 8, 2020, a Stipulation resolving the Motion was filed with the Court and a

 Court Order approving same was entered.




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        4.      On June 8, 2021, Wells Fargo sent the Debtors’ counsel a Notice of Default indicating

 total arrears of $4,579.29 and that the Default needed to be cured by June 18, 2021.

        5.      On June 21, 2021, Debtors made a payment to Wells Fargo of $4,500.00 as evidenced

 by the attached screen shot of Debtors’ bank statement.

        6.      Despite the payment as stated in the aforementioned paragraph, Wells Fargo filed a

 Certificate of Default on June 29, 2021.

        7.      Debtors have the ability to pay the remaining $79.29 to bring the post-petition

 arrearage current on July 2, 2021.

        8.      Debtors’ counsel sent an Email to counsel for Wells Fargo with proof of the

 $4,500.00 payment at the end of the business day on June 29, 2021.

        9.      Counsel for Wells Fargo immediately responded that they would check with their

 client to see if the default had been cured and inquiring as to when the $79.29 would be paid.

        10.     On June 30, 2021, Debtors’ counsel responded stating that the $79.29 would be paid

 on July 2, 2021.

        WHEREFORE, Debtor respectfully requests that this Honorable Court refrain from entering

 an Order granting Wells Fargo Bank Relief from the Automatic Stay in the above matter.

                                                      Respectfully submitted,




                                                      Gary J.
                                                            J Imblum
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                                                      Attorney I.D. No. 42606
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 DATED: 06 / 30 / 2021                                Attorney for Debtor




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                               CERTIFICATION OF SERVICE



        I, Carol V. Shay, Paralegal, do hereby certify that I have served a copy of the foregoing

 DEBTORS’ OBJECTION TO CERTIFICATE OF DEFAULT FILED BY WELLS FARGO BANK,

 N.A. d/b/a WELLS FARGO AUTO upon the following persons by E-Service or by United States

 Mail, first class, postage prepaid, at Harrisburg, Dauphin County, Pennsylvania, addressed to:



 JACK N. ZAHAROPOULOS, ESQUIRE
 CHAPTER 13 TRUSTEE
 VIA E-SERVICE


 ADAM B. HALL, ESQUIRE
 MANLEY DEAS KOCHALSKI LLC
 FOR MOVANT
 VIA E-SERVICE


                                                     IMBLUM LAW OFFICES, P.C.



                                                     Bernadette A. Davis, Paralegal
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                                                     gary.imblum@imblumlaw.com
                                                     For Debtors
           06 / 30 / 2021
 DATED: __________________




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